Case 1:20-cv-02084-RM-NYW Document 18 Filed 10/02/20 USDC Colorado Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

  Case No. 1:20-cv-02084-NYW

  AQYRE LLC, a Delaware limited liability company,

                   Plaintiff,

  v.

  AQYRE REAL ESTATE ADVISORS, LLC,
  t/a AQYRE REAL ESTATE ADVISORS, a Colorado limited liability company,

                   Defendant.


       JOINT MOTION TO VACATE AND/OR EXTEND SCHEDULING CONFERENCE AND
                            NOTICE OF SETTLEMENT

          Pursuant to D.C.COLO.L.CivR 6.1, Judge Moore’s Civ. Practice Standards J & K, and

  NYW Civ. Practice Standard 6.1, Plaintiff Aqyre LLC and Defendant Aqyre Real Estate

  Advisors, LLC, by counsel (collectively “the Parties”), hereby move to vacate and/or extend the

  date of the Scheduling Conference currently set for October 6, 2020, and in support thereof state

  the following.

          1.       On October 2, 2020, the Parties reached a tentative compromise which they

  believe will resolve all claims between the Parties.

          2.       The compromise is conditioned upon entry into a mutually acceptable settlement

  agreement between the Parties.

          3.       The Parties believe they can finalize a settlement agreement and dismiss the case

  within fourteen days.

          4.        In light of the above good cause, the Parties respectfully request that this Court

  vacate the scheduling conference set for October 6, 2020, subject to rescheduling by the parties
Case 1:20-cv-02084-RM-NYW Document 18 Filed 10/02/20 USDC Colorado Page 2 of 2




  should they fail to finalize their agreement.

         5.        In the alternative, the Parties request the Court extend the Scheduling Conference

  until October 27, 2020 and represent that both Plaintiff and Defendant’s counsel are available to

  conduct the Scheduling Conference during the week of October 26, 2020.

         6.        There has been one other extension of time in this matter. In particular, on

  August 5, 2020, Defendant Aqyre Real Estate Advisors, LLC filed a Stipulation to Extend

  Defendant’s Response Date 21 Days (Doc. No. 9) and an Unopposed Motion to Extend Dates in

  the July 21, 2020 Scheduling Order (Doc. No. 8), which the Court granted on August 6, 2020

  (Doc. No. 11).



  Dated: October 2, 2020

  Respectfully submitted:



   THOMAS P. HOWARD, LLC                              ADSERO IP

   /s/ William C. Groh____________                    /s/ Kathryn L. Bohmann____________
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                                                      Advisors, LLC
